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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 TOUCHSTREAM TECHNOLOGIES, INC., §
                                 §
              Plaintiff,         §
                                 §
          v.                     §                      Civil Case No. 6:21-cv-569-ADA
                                 §
 GOOGLE LLC,                     §                      JURY TRIAL DEMANDED
                                 §
              Defendant.         §
                                 §

                             ORDERS ON MOTIONS IN LIMINE

        The Court, having considered the Motions in Limine filed by Plaintiff Touchstream

Technologies, Inc. (“Touchstream”) and Defendant Google LLC. (“Google”) (Dkt. Nos. 174, 185)

and the parties’ arguments at the June 28, 2023 Pretrial Conference, rules as follows:


Touchstream Technologies, Inc.’s Motions in Limine:

        Touchstream’s Motion in
  No.                                        The Court’s Order
        Limine
        To Exclude SMR Agreement And
   1                                         DENIED.
        Related Opinions And Testimony
        To Exclude Evidence And
   2    Testimony Regarding Usage            DENIED.
        Spreadsheets
        To Exclude Evidence And
        Testimony Regarding Cherry-
   3                                         DENIED.
        Picked Google License
        Agreements
                                         GRANTED. But, parties are allowed to use
                                         testimony to impeach any witness who testified
        To Exclude Inter Partes Review   during IPR, as long as testimony is referenced in
   4
        (IPRs) and PTAB Proceedings      trial as sworn testimony. Further, the Court will
                                         consider IPR evidence in its consideration of
                                         willfulness after trial. See PTC Tr. at 136:10-22.
        To Exclude Argument that         DENIED. But will exclude if either side uses
   5    Touchstream is an Non-Practicing corporate status as prerogative. See PTC Tr. at
        Entity or “Patent Troll.”        137:2-18.
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         Touchstream’s Motion in
  No.                                         The Court’s Order
         Limine
         To Exclude Testimony or
   6                                          DENIED.
         Declarations from Mr. Levai.
         To Exclude Arguments or
                                              DEFFERED. Approach bench before getting into
   7     Evidence of Touchstream’s
                                              that issue/content. See PTC Tr. at 138:18-139:1.
         Alleged Delay in Filing Suit
         To Exclude Arguments or              DENIED. Parties are still allowed to object if
   8     Evidence of Touchstream’s Not        references are used in a prejudicial way. See PTC
         Offering a Physical Product          Tr. at 140:1-142:9.
         To Exclude Arguments of Legally
   9     Erroneous Non-Infringing             DENIED.
         Alternatives
         To Exclude Evidence and
         Testimony Related to Prior Art
         References That Google Failed to
  10     Disclose in it Final Invalidity      DENIED.
         Contentions and for Which
         Google Cannot Provide Adequate
         Foundation.

Google LLC’s Motions in Limine:

 No. Google’s Motion in Limine                  The Court’s Order
                                              DENIED, but will exclude if either side uses
        Exclude reference to Google’s overall
  1                                           corporate status as prerogative. See PTC Tr. at
        size, wealth, profits, or revenue
                                              137:2-18.
        Exclude the unsupported opinion of
  2     Mr. Chandler concerning ad revenue      DENIED.
        and Google’s business model
        Exclude reference that any
        Touchstream product practiced the
        Asserted Patents and any alleged
  3     industry praise, including the          GRANTED.
        untimely and unqualified opinion of
        Mr. Strober that Touchstream
        products embodied the patents
        Exclude reference to non-US use,
  4                                             MOOT.
        activity, or sale revenue




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 No. Google’s Motion in Limine                 The Court’s Order
      Exclude any reference, suggestion, or
      argument regarding the fact,
      settlement, outcome of or verdict or
                                            GRANTED, except expert discussion of other
  5   result in any other litigation, legal
                                            litigation. See PTC Tr. at 150:16-151:4.
      proceeding, regulatory, governmental,
      or other investigation involving the
      other party
      Exclude any reference of Google
      being a “monopoly,” “monopolist,”
      “anti-competitive” or other such
                                               GRANTED, except to the discussion in expert
  6   pejorative terms, or that Google is
                                               reports. See PTC Tr. at 151:6-18; 153:10-23.
      repeatedly accused of IP
      infringement, does not respect IP
      rights, or other such matters
      Exclude any reference concerning
                                               GRANTED, except to the extent any expert needs
      Google’s practices with respect to
  7                                            to prove infringement. See PTC Tr. at 151:19-
      data collection, privacy, or
                                               152:3.
      information security
      Exclude any reference about alleged
  8   deficiencies in or the conduct of        GRANTED.
      discovery in this case
      Exclude any reference relating to data
  9                                            GRANTED. See PTC Tr. at 152:8-153:3.
      retention policy and practices

SIGNED this 14th day of July, 2023.




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